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 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, ELIXANDRO NEVARES LOPEZ
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 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 1:05-CR -0048 AWI

12                             Plaintiff,              STIPULATION TO SET CHANGE OF
                                                       PLEA HEARING AND PROPOSED
13          v.                                         ORDER THEREON

14   ELIXANDRO NEVARES LOPEZ,

15                            Defendant.

16

17                                             STIPULATION

18          It is hereby stipulated by and between the parties hereto that a Change of Plea hearing be

19   scheduled for September 15, 2014 at 10:00 a.m..

20   DATED: September 8, 2014               FLETCHER & FOGDERUDE, INC.

21

22                                           /s/ Eric K. Fogderude             .
                                            ERIC K. FOGDERUDE
23                                          Attorney for Defendant, ELIXANDRO NEVARES LOPEZ
24
     DATED: September 8, 2014               UNITED STATES ATTORNEY’S OFFICE
25

26
                                            _/s/ Karen Escobar______________________
27                                          Karen Escobar, Assistant US Attorney

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     Case 1:05-cr-00048-AWI-BAM Document 312 Filed 09/09/14 Page 2 of 2


 1                                            ORDER

 2          IT IS SO ORDERED that a Change of Plea hearing be scheduled for September 15, 2014

 3   at 10:00 a.m.

 4
     IT IS SO ORDERED.
 5

 6   Dated: September 8, 2014
                                             SENIOR DISTRICT JUDGE
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